UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF MICHIGAN-SOUTHERN DIVISION

In Re: Maude’s Alabama BBQ, LLC Case no. 24-31583
Ch. 11-
Judge: Joel D. Applebaum

Debtor.
/

EXHIBIT TO FIRST DAY MOTION FOR AN ORDER AUTHORIZING
DEBTOR TO PAY PRE-PETITION WAGES AND COMPENSATION

Respectfully submitted,

Dated: 8/27/24

/s/ George E. Jacobs
George E. Jacobs (P36888)
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24-31583-jda Doc17 Filed 08/27/24 Entered 08/27/24 14:02:10 Page 1of2
Projection of Income and expense

8/28/24-9/4/24

Maude’s Alabama BBQ LLC

REVENUE
Gross Sales
Sales Tax

NET SALES

EXPENSES

Food purchase

credit card fees

insurance

Third party deliver expense
Supplies

Wages

Total Expenses

NET OPERATING INCOME

$23,675
$1,421

$22,255

$7122
$480
$750
$575
$586
$2900

$12,413

$9842

24-31583-jda Doc17_ Filed 08/27/24 “Entered 08/27/24 14:02:10

Page 2 of 2
